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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

EXCELLED SHEEPSKIN & LEATHER COAT
CORP.,

Plaintiff,
v.

OREGON BREWING COMPANY

Defendant.

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Plaintiff Excelled Sheepskin & Leather Coat Corp., by its undersigned co

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CoMPLAlNT FoR INFRlNGEMENT,
UNFAIR CoMPETiTloN, AND
DECEPTIVE TRADE PRACTICES AND
DECLARATORY JUDGMENT

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this Complaint for Declaratory Judgment against Defendant Oregon Brewing Company and

respectfully alleges as follows:

NATURE oF THE CASE

l. This is an action for trademark infringement, trademark counterfeiting, and unfair

competition arising under the trademark laws of the United States (Trademark Act of 1946, 15

U.S.C. § 1051 et seq.), the statutory law of the State of New York, and the common law.

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THE PARTlES

2. Plaintiff Excelled Sheepskin & Leather Coat Corp. (“Excelled”) is a corporation
organized and existing under the laws of New Jersey, with its principal place of business within
this judicial district at 1400 Broadway, New York, New York 10018.

3. Upon information and belief, Defendant Oregon Brewing Company (“OBC”) is a
corporation organized and existing under the laws of the State of Oregon, with a business address
at 2320 OSU Drive, Newport, Oregon 97365.

JURlSDlCTIoN AND VENUE

4. This Court has jurisdiction under Section 39 of the Trademark Act of 1946, 15
U.S.C.. § 1121. The Court also has jurisdiction under 28 U.S.C. §§ 1331, 1332, 1338 and 1367,
and the doctrine of supplemental jurisdiction. The amount in controversy exceeds the Sum or
value of $75,000, exclusive of interest and costs, and the parties are of diverse citizenship

5. This Court has personal jurisdiction over Defendant because Defendant regularly
solicits, transacts, and does business within the state of New York and within this district and the
claims in this action arise out of such business in this district.

6. Upon information and belief, Defendant has caused and is causing tortious injury
within this judicial district.

7. Venue is proper in this district under 28 U.S.C. § 1391 in that a substantial part of
the events or omissions occurred or a substantial part of the property that is subject to this action
is situated in this judicial district.

FACTUAL BACKGROUND
Plaintiff Excelled Sheepskin & Leather Coat Corp.
8. Plaintiff is engaged in the sale of clothing and footwear under a family of marks

containing the word ROGUE (the “ROGUE Marks”).l

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9. Plaintiff uses its renowned ROGUE Marks on various types of clothing and
accessories, including but not limited to pants, jackets, shirts, footwear, and hats.

10. Plaintiff owns various trademark registrations issued by the United States Patent
and Trademark Offlce (“PTO”) for clothing marks that contain the word ROGUE including (i)
Reg. No. 3,346,559, ROGUE for “men’s, ladies’ and children’s clothing, namely, coats, jackets,
vests, shirts and pants” ( issued: December 4, 2007), (ii) Reg. No. 3,260,143 ROGUE for
“footwear” (issued: July 10, 2007); (iii) Reg. No. 2,790,074 ROGUE LEATHER BY REILLY
OLMES for “Men’s, women’s and children’s clothing made in whole or in substantial part of
leather, namely, coats, vests, shirts and pants” (issued: December 9, 2003), (iv) Reg. No.
3,945,523 ROGUE STATE for “men’s, ladies’ and children’s clothing,'namely, coats, jackets,
vests, shirts and pants” (issued: April 12, 2011).

l 1. Since long prior to the acts complained of herein, Plaintiff has sold clothing and
accessories bearing the ROGUE Marks through department stores and other traditional retail
clothing channels, as well as through related Intemet websites.

12. The ROGUE Marks have been, and continue to be, widely publicized through
substantial advertising in the United States directed at retail clothing customers. Numerous
articles showing celebrities wearing Plaintiffs ROGUE marks have appeared in widely
circulated magazines, including GQ, Maxim, Men’s Journal, and Men’s Fitness.

13. As a result of its substantial advertising and promotional efforts, Plaintiff has
made extensive sales of its ROGUE clothing products, and the ROGUE Marks have become well

known and famous among members of the public as distinctive indicators of Plaintiffs goods.

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Defendant Oregon Brewing Company

14. Upon information and belief, Defendant operates brew pubs and is engaged in the
production and sale of alcoholic beverages, namely beer and ale.

15. Upon information and belief, Defendant has sold a few promotional products, b
including clothing items bearing the name ROGUE, through its brewpubs and its website.

16. Upon information and belief, until recently, Defendant had never sold clothing
products under the ROGUE mark except through its own brewpubs and on its own website.

17. Now, however, Defendant has begun selling and attempting to sell in commerce
clothing bearing counterfeit imitations of Plaintiff s federally registered ROGUE Marks through
department stores and ordinary retail clothing trade channels with a deliberate intent to confuse,
mislead, and deceive consumers, and with a malicious intent to trade on the goodwill that
Plaintiff has established in its ROGUE Marks in such retail channels.

18. For example, upon information and belief, Defendant is offering or has offered its
counterfeit ROGUE clothing (a) at one or more Nordstrom’s department stores; and (b) through
websites that are not affiliated with its beer and brew pub business, such as www.crazyshirts.com
and ;\L\Nw.palmercash.com.

19. In addition, Defendant is offering or has offered counterfeit ROGUE footwear on
its own website (at www.rogue.com/store/categories/Brewshoes/) and other websites.

20. Defendant procured U.S. Registration No. 3,365,653 for the mark ROGUE for
“clothing, namely, t-shirts, sweatshirts, polo shirts, turtlenecks, aprons, hats, and not including
jackets, coats and skirts, sold primarily in the trademark owner's brewpubs and web site, as

compliments to and in promotion of the trademark owner's brewing and beverage

businesses” (emphasis added) (issued: January 8, 2008).

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21. When Defendant initially applied to register the mark ROGUE for clothing, it did
not disclose to the PTO the fact that its use of that mark had been limited to the sale of products
at its brewpubs and website that were designed to promote its brewing and beverage business.

22. Upon finding that Defendant was attempting to register the mark R()GUE for
clothing that could be sold in the same trade channels in which Plaintiff already sold clothing
under Plaintiff’s ROGUE marks, the PTO refused registration The basis of the PTO’s refusal
was that the use of Defendant’s mark in such trade channels would create confusion because it
was identical to Plaintiff’ s ROGUE Mark.

23. Defendant attempted to overcome the PTO’s refusal by deleting a few clothing
items from the list of goods in the application, but Defendant again failed to disclose the fact that
it had used the mark ROGUE only on a few promotional products

24. Thereafter, the PTO again rejected Defendant’s application, holding in
accordance with long established policy that the “exclusion of specific articles of clothing is not
enough to overcome a likelihood of confusion with an identical mark for other items of
clothing.”

25. At the time its application was rejected, Defendant was not using the mark
ROGUE on clothing sold in ordinary retail channels, and Defendant knew of Plaintiff’s prior
registration and use of the mark RGGUE on clothing sold in such channels.

26. After its application had been rejected a second time, Defendant finally admitted
to the PTO that it was using the mark ROGUE only on clothing items sold through its brew pubs
and its own website, and only to compliment and promote its primary business - namely, the

manufacture and sale of beer and ale.

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27. Defendant thus amended its application to include an express limitation on the
trade channels through which its clothing products could be sold and continued that it was
selling such products only to compliment and promote its primary, beer and brew business.

28. Upon receiving Defendant’s amendment, in which Defendant admitted that its
rights in ROGUE were limited to clothing “sold primarily in the trademark owner's brewpubs
and web site, as compliments to and in promotion of the trademark owner's brewing and
beverage businesses,” the PTO relied on that admission and approved Defendant’s application
for registration The registration that the PTO issued to Defendant contains precisely that
limitation on the trade channels in which Defendant may use the mark ROGUE for clothing,

29. Plaintiff’s application for registration of ROGUE for men’s, ladies and children’s
clothing, namely, coats, jackets, vests, shirts and pants (which had been cited by the PTO as a bar
to registration of ROGUE by Defendant) matured to Reg. No. 3,346,559 on December 4, 2'007.

30. Defendant never objected to Plaintiff’ s Reg. No. 3,346,559 for the mark ROGUE
for clothing, and that registration constitutes prima facie evidence of Plaintist exclusive right to
use the mark on the products listed in the application

31. Notwithstanding Plaintiff s exclusive rights, Defendant is deliberately selling or
attempting to sell clothing under the mark ROGUE in retail department stores and through
websites other than its own, and is selling footwear under the mark ROGUE, with an intent to

trade on the goodwill and reputation that Plaintiff has established in those trade channels under

its mark ROGUE.

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COUNT I
TRADEMARK COUNTERFEITING UNDER THE
STATUTORY LAWS OF THE UNITED STATES
(15 U.S.C. § 1114(1)(b)

32. As a separate cause of action and ground for relief, Plaintiff alleges that
Defendant has and is engaged in acts of counterfeiting in violation of 15 U.S.C. §l l l4(l)(b).
Paragraphs 1 through 31 of this complaint are incorporated by reference as a part of this count.

33. Upon information and belief, Defendant has made unauthorized use of the mark
ROGUE (the Counterfeit Mark) as a counterfeit imitation of Plaintiffs ROGUE Marks~in
connection with the sale of clothing in interstate commerce and in Plaintiff`s retail trade
channels

34. The mark used by Defendant is a counterfeit within the meaning of 15 U.S.C.

§ 1127 in that it is a spurious mark that is substantially indistinguishable from Plaintiffs mark
shown in Registration Nos. 3,346,559 and 3,260,143.

35. Upon information and belief, Defendant has intentionally used the Counterfeit
Mark or permitted others to use it, with actual knowledge that it is a counterfeit, in the
advertising, selling and offering to sell goods in interstate commerce in Plaintiff’s exclusive trade
channels.

36. Defendant has used and is using its alleged mark in connection with the
advertising and sale of goods in this district and in interstate commerce in such a manner as to
create a likelihood of confusion, mistake, or deception among actual and prospective consumers
and said acts have damaged, impaired, and diluted that part of the good will symbolized by

Plaintiffs ROGUE Marks, to Plaintiffs immediate and irreparable damage

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37. Defendant’s unauthorized use of a counterfeit imitation of Plaintiff s mark
constitutes counterfeiting within the meaning of 15 U.S.C. § l 1 14(1)(b).

38. Defendant had actual knowledge of Plaintiffs exclusive rights in its ROGUE
Marks mark when it engaged in the conduct complained of herein Thus, Defendant has willfully
and deliberately engaged in the aforesaid acts of counterfeiting with an intent to injure Plaintiff
and to deceive the public.

39. Defendant’s acts of counterfeiting have caused Plaintiff irreparable injury and loss
of reputation Unless enjoined by this court, Defendant will continue to use counterfeit imitations
of Plaintiffs ROGUE Marks, to Plaintiff’s immediate and irreparable damage.

COUNT II
TRADEMARK INFRINGEMENT
UNDER THE STATUTORY LAWS OF THE UNITED STATES
(15 U.S. C. § 1114(1)(a))

40. As a separate cause of action and ground for relief, Plaintiff alleges that
Defendant has and is engaged in acts of trademark infringement, in violation of 15 U.S.C.
§11`14(1)(a). Paragraphs 1 through 39 of this complaint are incorporated by reference as a part of
this count.

41. Defendant has used and is using the Counterfeit Mark in connection with the
advertising and sale of goods in commerce in Plaintiff s trade channels in such a manner as to
create a likelihood of confusion with Plaintiff’s ROGUE Marks among prospective purchasers.

42. Defendant’s use of the Counterfeit Mark induces purchasers and others to believe,

contrary to fact, that the goods sold by Defendant are rendered, sponsored, or otherwise

approved by, or connected with Plaintiff. Defendant’s acts have damaged, impaired and diluted

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that part of Plaintiff’s goodwill symbolized by Plaintiffs well known ROGUE Marks to
Plaintiff’s immediate and irreparable damage.

43. Defendant’s use of a mark identical to Plaintiff’s registered ROGUE mark in the
manner alleged constitutes trademark infringement within the meaning of 15 U.S.C. §1114(1).

44. Defendant had actual knowledge of Plaintiff s exclusive rights in its ROGUE
Marks when it began using the Counterfeit Mark. Thus, Defendant has willfully and deliberately
engaged in the aforesaid acts with an intent to injure Plaintiff and to deceive the public.

45. Defendant’s deliberate acts of trademark infringement have caused Plaintiff
irreparable injury and loss of reputation Unless enjoined by this court, Defendant will continue
these acts of trademark infringement to Plaintiff`s immediate and irreparable damage

COUNT III
FALSE DESIGNATION OF ORIGIN AND UNFAlR COMPETITION UNDER
THE STATUTES OF THE UNITED STATES
(15 U.s.C. § 1125(a))

46. As a separate cause of action and ground for relief, Plaintiff alleges that
Defendant has and is engaged in the use a false designation of origin and in acts of unfair
competition in violation of Section 43(a) of the Trademark Act of 1946, 15 U.S.C. §1125(a).
Paragraphs l through 45 of this complaint are incorporated by reference as a part of this count.

47. Defendant has used and is using a mark identical to Plaintiffs ROGUE Marks in
connection with the advertising, distribution and sale of goods in interstate commerce in such a
manner as to create a likelihood of confusion among prospective purchasers and to unfairly

compete with Plaintiff.

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48. Defendant’s use of a mark identical or confusingly similar to Plaintiff’s R(9GUE
Marks induces purchasers and others to believe, contrary to fact, that the goods and goods sold
by Defendant are rendered, sponsored or otherwise approved by, or connected with Plaintiff.

49. Defendant’s acts have damaged, impaired and diluted that part of Plaintiff’s
goodwill symbolized by its name and mark to Plaintiff’s immediate and irreparable damage.

50. Defendant’s unauthorized use of a mark identical mark to Plaintiffs ROGUE
Marks in connection with the advertising and sale of Defendant’s goods, constitutes'use of a false
designation of origin and a false description within the meaning of Section 43(a)`of the
Trademark Act of 1946, 15 U.S.C. §l l25(a).

51. Defendant’s unauthorized use of a mark identical to Plaintiffs ROGUE Marks
constitutes unfair competition entitling Plaintiff to remedies pursuant to Section 43(a) of the
Trademark Act of 1946, 15 U.S.C. §1125(a).

52. Defendant’s acts of unfair competition false designation of origin and false
description have caused Plaintiff irreparable injury, loss of reputation and pecuniary damages
Unless enjoined by this court, Defendant will continue the acts of unfair competition complained

of herein to Plaintiff`s immediate and irreparable damage.
COUNT IV

UNFAIR TRADE PRACTICES UNDER
THE STATUTORY LAWS OF NEW YORK

53. As a separate cause of action and ground for relief, Plaintiff alleges that
Defendant has and is engaged in deceptive and unfair trade practices within the meaning of N.Y.
Gen. Bus. Law §349. Paragraphs l through 52 of this complaint are incorporated by reference as

a part of this count.

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54. Defendant is using the Counterfeit Mark in connection with the advertising and
sale of clothing in such a manner as to create a likelihood of confusion among prospective
purchasers, thereby inducing purchasers and others to believe, contrary to fact, that the goods
and services of Defendant are rendered, sponsored, or otherwise approved by, or connected with
Plaintiff.

55. Defendant’s acts have damaged, impaired and diluted that part of Plaintiff s
goodwill symbolized by the ROGUE Marks, to Plaintiff’s immediate and irreparable damage.

56. Defendant‘s use of the Counterfeit Mark in the manner alleged constitutes
deceptive trade practices of a type proscribed by N.Y. Gen. Bus. Law §349.

57. Defendant had actual knowledge of Plaintiff’s rights in its ROGUE Marks at the
time it decided to use the name and mark complained of herein, Thus, Defendant has willfully
and deliberately engaged in deceptive trade practices and it has infringed Plaintiff’s rights in its
ROGUE Marks.

58. Defendant’s deceptive and unfair trade practices have caused Plaintiff irreparable
injury, loss of reputation and pecuniary damages. Unless enjoined by this court, Defendant will
continue these deliberate acts of infringement and deceit to mislead consumers and to Plaintiff’s
immediate and irreparable damage.

COUNT V

TRADEMARK INFRINGEMENT UNDER THE
COMMON LAW

59. As a separate cause of action and ground for relief, Plaintiff alleges that

Defendant has and is engaged in acts of trademark infringement in violation of the common law.

Paragraphs 1 through 58 of this complaint are incorporated by reference as a part of this count.

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60. Defendant has and is using the Counterfeit Mark in connection with the
advertising and sale of goods in such a manner as to create a likelihood of confusion among
prospective purchasers, thereby inducing purchasers and others to believe, contrary to fact, that
the goods and goods of Defendant are rendered, sponsored, or otherwise approved by, or
connected with Plaintiff, which acts have damaged, impaired and diluted that part of the
goodwill symbolized by Plaintiffs ROGUE Marks to Plaintiff s immediate and irreparable
damage.

61. The nature, probable tendency and effect of Defendant’s use of a mark identical to
Plaintiff‘s ROGUE Marks in the manner alleged is to enable Defendant to deceive the public by
passing off its goods as being rendered, sponsored, or otherwise approved by or connected with
Plaintiff.

62. Defendant’s unauthorized use of the Counterfeit Mark in connection with the
advertising and sale of its goods is likely to cause confusion mistake or deception as to the
source or origin of Defendant’s goods and constitutes infringement of Plaintiff s ROGUE Marks
under the common law.

63. Defendant’s acts of infringement have caused Plaintiff irreparable injury, loss of
reputation and pecuniary damages Unless enjoined by this court, Defendant will continue these
acts of infringement thereby deceiving the public and causing Plaintiff immediate and irreparable

damage.

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PRAYER FoR RELlEF

WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

(1) Pursuant to 15 U.S.C. § 1116, and the law of the State of New York, that
Defenclants and each of their agents, servants, employees, attomeys, assigns, and all others in
privity or acting in concert with them be preliminarily and permanently enjoined from:

(a) Using or authorizing others to use the name and mark ROGUE or any
other n.ame, mark or domain name containing these terms, or any confusineg similar names or
marks, in the advertising or sale of any goods or services in trade channels other than
Defendant’s own brew pubs and website as compliments to and in promotion of Defendant’s
own brewing and beverage business;

(b) Using or authorizing others to use in any manner any service mark,
trademark, trade name, trade dress, words, numbers, abbreviations, designs, colors,
arrangements collocations, or any combinations thereof which would imitate, resemble or'
suggest Plaintiffs well known trademarks;

(c) Otherwise infringing Plaintiffs trademarks and trade narne;

(d) Unfairly competing with Plaintiff, diluting the distinctiveness of Plaintiffs
well-known trademark, and otherwise injuring Plaintiffs business reputation in any manner;

(e) Publishing any telephone listings, using any domain names, web pages or
Internet advertisements or keywords using the name or mark ROGUE or any other name or
mark confusingly similar to Plaintiffs name or mark.

(i) Registering or applying to register any trademark, trade name or domain
name containing the word or any confusingly similar name or mark for trade channels other than

Defendant’s own brew pubs and website as compliments to and in promotion of Defendant’s

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own brewing and beverage business;
(g) Imposing a constructive trust on»all sales of any goods or services that
infringe on Plaintiff’s trademark and trade name. _

(2) Pursuant to 15 U.S.C. § 1118 and the law of the State of New York, that
Defendants be directed to deliver up for destruction all products, advertisements labels, signs,
prints, packages, wrappers, and all other materials in its possession or under its control that
' resemble or bear the name or mark ROGUE that have been or could be used in trade channels
other than Defendant’s own brew pubs and website as compliments to and in promotion of
Defendant’s own brewing and beverage business..

(3) Pursuant to 15 U.S.C. § 1117 and the law of the State of New York, that
Defendants account and pay to Plaintiff damages in an amount sufficient to fairly compensate
Plaintiff for the injury it has sustained plus all profits which are attributable to the infringing sale
of goods or services under the names and marks complained of herein, and further that the
amount of the monetary amount granted herein be trebled in view of the willful and deliberate
nature of Defendants’ unlawful conduct.

(4) Pursuant to 15 U.S.C. § 1117(c) and (d), Defendant be required to pay statutory
damages in an amount to be determined as compensation for Defendant’s deliberate acts of
counterfeiting

(5) Pursuant to 15 U.S.C. § 1117, and the law of the State of New York, that this case

be declared exceptional because of Defendants egregious conduct and that Defendant be ordered

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to pay to Plaintiff the costs of this action and Plaintiffs attorneys’ fees.

(6) Such other, further, additional relief as the Court deems equitable and proper.

Dated: New York, New York
February 24, 2012

ARENT FOX LLP

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